        Case
Robert Ezra     2:20-cv-03029-ODW-E
             (SBN: 68872)           Document 64 Filed 11/08/21 Page 1 of 1 Page ID #:636
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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                    CASE NUMBER:

COMPHY CO., INC., a California corporation,                         2:20-cv-03029-ODW (Ex)

                                                     Plaintiff(s)
                          v.
                                                                    AFFIDAVIT AND REQUEST FOR ISSUANCE
COMFY SHEET; and PRATIK JAIN, an individual doing                          OF WRIT OF EXECUTION
business as Comfy Sheet,
                                                   Defendants)

(check one)        STATE OF CALIFORNIA, COUNTY OF Los Angeles
                   STATE OF                            , COUNTY OF

    I, Robert Ezra                                                                 hereby state under penalty of perjury that,

    1. Judgment for $ 539,522.28               was entered on November 2, 2021              on the docket of the
       above-entitled action in the U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA in favor of
       COMPHY CO., INC., a California corporation                              as Judgment Creditor, and against
       COMFY SHEET; and PRATIK JAIN, an individual doing business as
       Comfy Sheet                                                             as Judgment Debtor

                    (If a Registered Judgment from another Court or District, include the following information)
         Said Judgment was registered herein under Title 28, U.S. Code, Section 1963, being a Judgment which was
         obtained in Civil Case No.                                        in the United States District Court for the
                                    District of                                      and which has become FINAL.
         NOTE:      JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE
                    DISTRICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

    2. I am the Judgment Creditor, or the attorney for said Judgment Creditor, and request issuance of a Writ of
       Execution on the Judgment.

    3. ACCRUED since the entry of Judgment in the                                       District of
       are the following sums:
               $                           accrued interest, computed at             % (see note)
               $                           accrued costs
    Credit must be given for payments and partial satisfaction in the amount of $ 0.00                       which is to be
    credited against the total accrued costs and accrued interest, with any excess credited against the Judgment as entered.

    I declare under penalty of perjury that the foregoing is true and correct.

    Executed at Franklin                                  State of Tennessee                                    , this 8th day of
    November                    2021
                                                                           /s/ Robert Ezra
                                                                                                    Signature
                                                                           Attorneys for Plaintiff Comphy Co., Inc.

                          AFFIDAVIT AND REQUEST FOR ISSUANCE OF WRIT OF EXECUTION                                       American LegalNet, Inc.
CV-24 (6/01)                                                                                                            www.FormsWorkflow.com
